      Case 1:21-cr-00088-DLF Document 67 Filed 03/02/22 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )(
                         )( Criminal No. 21-88 (DLF)
            v.           )( Judge Friedrich
                         )( Motions Hearing: April 26, 2022
    RONALD SANDLIN       )(
           and           )(
   NATHANIEL DeGRAVE     )(


       UNOPPOSED JOINT MOTION TO EXTEND DEADLINES
        FOR PRETRIAL MOTIONS AND RELATED FILINGS
        AND TO CONTINUE PRETRIAL-MOTIONS HEARING
       COMES NOW the defendants, Ronald Sandlin and Nathaniel DeGrave, by and
through undersigned counsel, and respectfully move this Honorable Court to extend the
deadlines for pretrial motions and related filings by 60 days and to continue the pretrial-
motions hearing from April 26, 2022 to a date approximately 60 days later that is
agreeable to the Court and the parties. In support of this motion, Mr. Sandlin and Mr.
DeGrave would show:
       1.       Pretrial motions in this case are currently due on March 9, 2022;
responses are due on March 30, 2022; and replies are due on April 6, 2022. A pretrial-
motions hearing is scheduled for April 26, 2022. Time under the Speedy Trail Act has
been tolled until April 26, 2022.
       2.      Undersigned counsel are still reviewing discovery for this case. The
government has provided counsel a voluminous amount of discovery specific to the case.
Moreover, discovery related generally to all the January 6 cases is being put up on the
Axon Evidence.com platform and the Deloitte Relativity platform. While counsel for



                                             1
      Case 1:21-cr-00088-DLF Document 67 Filed 03/02/22 Page 2 of 3




Mr. Sandlin has received training on how to use both platforms and has been licensed to
access the Axon Evidence.com platform, his license request for the Deloitte Relativity
platform is still being processed.
        3.      Mr. Sandlin, Mr. DeGrave, and the government are still in the process of
trying to resolve this case with a plea agreement, and communications between the
parties about a possible plea agreement are ongoing. By preparing substantive pretrial
motions and related filings, the government will be investing resources, which in turn
will lessen its incentive to resolve this case short of trial. Also, if this case is resolved
with a plea, having the parties prepare substantive pretrial motions and related filings that
are then mooted results in the unnecessary expenditure of resources. On this point, it
should be noted that Mr. Sandlin is represented by court-appointed counsel.
        4.      Currently, a trial date in this case has not been set.
        5.      On February 28, 2020, counsel for Mr. Sandlin spoke by phone with
Assistant United States Attorney Jessica Arco. Ms. Arco graciously indicated that the
government does not oppose extending the deadlines for pretrial motions and related
filings by 60 days and continuing the pretrial-motions hearing from April 26, 2022 to a
date approximately 60 days later that is agreeable to the Court and the parties.
        6.      In order to give counsel for Mr. Sandlin and Mr. DeGrave more time to

review the discovery in this case, to foster plea discussions, and to avoid the unnecessary
expenditure of resources, undersigned counsel move the Court to extend the deadlines for
pretrial motions and related filings by 60 days and to continue the pretrial-motions
hearing from April 26, 2022 to a date approximately 60 later that is agreeable to the
Court and the parties.




                                                2
      Case 1:21-cr-00088-DLF Document 67 Filed 03/02/22 Page 3 of 3




       7.      If the Court grants this motion, Mr. Sandlin and Mr. DeGrave agree to
waive their rights under the Speedy Trial Act from April 26, 2022 to whatever date the
pretrial-motions hearing gets rescheduled for.
       WHEREFORE, the defendants, Ronald Sandlin and Nathaniel DeGrave, move
this Honorable Court to extend the deadlines for pretrial motions and related filings by 60
days and to continue the pretrial-motions hearing from April 26, 2022 to a date
approximately 60 days later that is agreeable to the Court and the parties.


                                              Respectfully submitted,

                                              ____/s/_____________
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                                             3
